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 1   DANIEL J. BRODERICK, Bar# 89424
     Federal Defender
 2   MATTHEW M. SCOBLE, Bar# 237432
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone (916) 498-5700
 5   Attorney for Defendant
     ALEX LIAO
 6
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,    )
12                                )      Cr.S. 11-0056-LKK
                  Plaintiff,      )
13                                )      STIPULATION AND ORDER
             v.                   )
14                                )      DATE: April 12, 2011
     ALEX LIAO, et al.,           )      TIME: 9:15 a.m.
15                                )      JUDGE: Hon. Lawrence K. Karlton
                  Defendants.     )
16                                )
     ____________________________ )
17
18      It is hereby stipulated and agreed to between the United States of
19   America through TODD LERAS, Assistant U.S. Attorney, and defendant,
20   ALEX LIAO, by and through his counsel, MATTHEW M. SCOBLE, Assistant
21   Federal Defender, KEN WONG, by and through his counsel, DWIGHT M.
22   SAMUEL, and BINH THU LAM, by and through his counsel, MICHAEL E.
23   HANSEN, that the status conference set for Wednesday, March 15, 2011,
24   be continued to Tuesday, April 12, 2011, at 9:15 a.m..
25      The reason for this continuance is to allow defense counsel
26   additional time to review discovery with the defendants, to examine
27   possible defenses and to continue investigating the facts of the case.
28      It is further stipulated that the time period from the date of this
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 1   stipulation, through and including the date of the new status
 2   conference hearing, April 12, 2011, shall be excluded from computation
 3   of time within which the trial of this matter must be commenced under
 4   the Speedy Trial Act, pursuant to 18 U.S.C. §§ 3161 (h)(7)(B)(iv)and
 5   Local Code T4 [reasonable time for defense counsel to prepare].
 6
 7   DATED: March 11, 2011            Respectfully submitted,
 8                                    DANIEL J. BRODERICK
                                      Federal Defender
 9
                                      /s/ Matthew M. Scoble
10                                    MATTHEW M. SCOBLE
                                      Assistant Federal Defender
11                                    Attorney for Defendant
                                      ALEX LIAO
12
13                                    /s/ Matthew M. Scoble for
                                      DWIGHT M. SAMUEL
14                                    Attorney for Defendant
                                      KEN WONG
15
16                                    /s/ Matthew M. Scoble, for
                                      MICHAEL E. HANSEN
17                                    Attorney for Defendant
                                      BINH THU LAM
18
     DATED: March 11, 2011            BENJAMIN B. WAGNER
19                                    United States Attorney
20                                    /s/ Matthew M. Scoble for
                                      TODD LERAS
21                                    Assistant U.S. Attorney
                                      Attorney for Plaintiff
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23
24   / / /
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 1                                  O R D E R
 2      Based on the stipulation of the parties and good cause appearing
 3   therefrom, the Court hereby adopts the stipulation of the parties in
 4   its entirety as its order.     It is hereby ordered that the presently set
 5   March 12, 2011, status conference shall be continued to April 12, 2011,
 6   at 9:15 a.m.   It is further ordered that the time period from the date
 7   of the parties' stipulation, March 11, 2011, through and including the
 8   date of the new status conference hearing, April 12, 2011, shall be
 9   excluded from computation of time within which the trial of this matter
10   must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. §
11   3161 (h)(7)(B)(iv) and Local Code T4 [reasonable time for defense
12   counsel to prepare].
13      Based on the stipulation of the parties and good cause appearing
14   therefrom, the Court hereby finds that the failure to grant a
15   continuance in this case would deny defense counsel reasonable time for
16   effective preparation taking into account the exercise of due
17   diligence.   The Court specifically finds that the ends of justice
18   served by the granting of such continuance outweigh the interests of
19   the public and the defendants in a speedy trial.
20      IT IS SO ORDERED.
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     DATED: March 14, 2011
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